
The People of the State of New York, Respondent,
againstRonnie Johns, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Jennifer G. Schecter, J.), rendered January 17, 2012, convicting him, upon a plea of guilty, of trademark counterfeiting in the third degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Jennifer G. Schecter, J.), rendered January 17, 2012, affirmed.
In view of defendant's knowing waiver of his right to prosecution by information, the accusatory instrument only had to satisfy the reasonable cause requirement (see People v Dumay, 23 NY3d 518 [2014]). So viewed, the accusatory instrument - comprising the misdemeanor complaint and supporting depositions of a representative of the trademark owner - was jurisdictionally valid, since it described facts of an evidentiary nature establishing reasonable cause to believe that defendant committed the offense of trademark counterfeiting in the third degree (see Penal Law § 165.71). For purposes of our threshold, pleading stage inquiry, the accusatory instrument sufficiently alleged that the digital video discs (DVDs) displayed and offered for sale by defendant, which bore the trademarks of Columbia Pictures, Universal and Dreamworks, were counterfeit, based upon several specifically enumerated features distinguishing them from genuine DVDs, and that the allegedly counterfeit trademarks appearing on the DVDs were registered and in use (see People v Wele, 41 Misc 3d 133[A], 2013 NY Slip Op 51804[U] [App Term, 1st Dept 2013], lv denied 22 NY3d 1044 [2013], People v Seye, 40 Misc 3d 127[A], 2013 NY Slip Op 51046[U] [App Term, 1st Dept 2013], lv denied 21 NY3d 1077 [2013]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: March 22, 2016










